Case 1:05-cr-01849-JCH Document 874-24 Filed 01/25/07 Pagelof3

JOSELYN SOMERA
Special Enforcement Revenue Agent
Internal Revenue Service Small Business/ Self Employed Division
United States Department of Treasury

Education

Bachelor of Arts (1984) Highlands University, Las Vegas, New Mexico
Business Administration,
Accounting Major

Real Estate (1986) Phoenix, Arizona

Currently enrolled in prep course Phoenix, Arizona
For Certified Fraud Examiner

Experience

Special Enforcement Revenue Agent Phoenix, Arizona (05/04-present)
Internal Revenue Service
Small Business Self Employed

Abusive Tax Avoidance Revenue Agent Phoenix, Arizona (05/00-05/04)
Internal Revenue Service
Small Business Self Employed

Revenue Agent Phoenix, Arizona (06/84-05/00)
Internal Revenue Service
Small Business Self Employed

Revenue Agent Reviewer Phoenix, Arizona (5/87-12/90)
Internal Revenue Service
Technical Services

District Counsel Details Phoenix, Arizona (as needed)
Internal Revenue Service
Area Counsel

Revenue Agent Instructor Phoenix, Arizona (numerous)
Internal Revenue Service
Small Business Self Employed

Acting Group Manager Phoenix, Arizona (numerous)

Internal Revenue Service
Small Business Self Employed

Page | of 3

$ GOVERNMENT
5 EXHIBIT

Case 1:05-cr-01849-JCH Document 874-24 Filed 01/25/07. Page2of3

Relevant Training

Special Enforcement Training Jacksonville, Florida
Expert Witness Training Seattle, Washington
Abusive Tax Avoidance Training Phoenix, Arizona
Indirect Methods Training Phoenix, Arizona
Revenue Agent Phase | Training San Francisco, California
(Individual Non-Business)

Revenue Agent Phase II Training Phoenix, Arizona
(Business Income)

Revenue Agent Phase III Training Phoenix, Arizona
(Corporate)

Revenue Agent Phase IV Training Phoenix, Arizona
(Partnerships and S Corporations)

Revenue Agent Phase V Training Phoenix, Arizona
(Consolidated Returns)

Continuing Professional Education Training Various

(annually)
Off-Shore Trust Phoenix, Arizona
On the Job Instructor for Revenue Agents Phoenix, Arizona
Employment Tax Training Chicago, Illinois
Reviewer Training Phoenix, Arizona

Specialized Experience

| have been employed with the Internal Revenue Service, United States Department of the
Treasury for approximately 22 % years. | have conducted numerous audits involving a
wide range of businesses. My duties as a Revenue Agent include, but are not limited to:

e reviewing returns for audit potential

e conducting examinations of business and personal accounting records

e analyzing records

e securing information from third parties as necessary

e executing Summonses if needed

e preparing schedules

® prepare indirect methods to verify income

e preparing Revenue Agent Reports to reflect audit findings

e explaining my finding to taxpayers and/or their attorney

Since becoming a Special Enforcement Revenue Agent, the emphasis of my duties is
concentrated in working with Special Agents in Criminal Investigation Division. | assist
Special Agents in reviewing and scheduling documentation and records secured from
individuals and/or business that are under criminal investigation. | prepare civil
settlements for cases after they have been prosecuted criminally. On occasion | perform
parallel investigations in conjunction with the Criminal Investigation Division in order to
expedite case processing.

Page 2 of 3
Case 1:05-cr-01849-JCH Document 874-24 Filed 01/25/07. Page 3of3

In my career with the Internal Revenue Service | have also performed the following
assignments:

Acting Group Manager

Instructor for Continuing Professional Education for Revenue Agents
Classification Details (to classify returns for audit potential)

Small Business Workshops

Revenue Agent on the job instructor

Page 3 of 3
